                Case 2:12-cr-00169-TLN Document 456 Filed 06/09/15 Page 1 of 3


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 9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 12-cr-00169MCE
                      Plaintiff,        )
12                                      ) AMENDED STIPULATION AND
           v.                           ) ORDER TO CONTINUE
13
                                        ) STATUS CONFERENCE
14                                      )
     ERIC ROBINSON,                     )
15
                                        ) Date: 8-6-2015
16                    Defendant.        ) Time: 9:00 a.m.
     ________________________________) Judge: Hon. Morrison C. England
17

18          Plaintiff United States of America, by and through its counsel of record, and

19   defendant Eric Robinson, by and through his counsel of record, hereby stipulate as
20
     follows:
21
            1.      By previous order, this matter was set for status June 11, 2015.
22

23          2.      By this stipulation, defendant now moves to continue the status
24
     conference until August 6, 2015, and to exclude time between June 11, 2015 and
25
     August 6, 2015, under Local Code T4. Plaintiff does not oppose this request. The case
26

27   is currently set for trial on November 9, 2015.
28          3.      The parties agree and stipulate, and request that the Court find the


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                 Case 2:12-cr-00169-TLN Document 456 Filed 06/09/15 Page 2 of 3


 1   following:
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            a.       The government has represented that the discovery associated with this
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     case includes approximately 1, 952 pages of investigative reports and related documents
 4

 5   in electronic form and many hours of recorded telephone calls. All of this discovery has
 6
     been either produced directly to counsel and / or made available for inspection and
 7
     copying.
 8

 9          b.       Counsel for defendant desires additional time to complete the review of
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     discovery, to conduct defense investigation, and to discuss potential resolution with her
11
     client. Counsel has also been continuing to engage in negotiations with the government.
12

13   In particular, Mr. Robinson has a current pending matter in Solano County that the

14   government and counsel are attempting to negotiate a global resolution. Negotiations
15
     with the county prosecutor and the government are ongoing.
16
            c.       Counsel for defendant believes that failure to grant the above-requested
17

18   continuance would deny her the reasonable time necessary for effective preparation,
19
     taking into account the exercise of due diligence.
20
            d.       The government does not object to the continuance.
21

22          e.       Based on the above-stated findings, the ends of justice served by

23   continuing the case as requested outweigh the interest of the public and the defendant in
24
     a trial within the original date prescribed by the Speedy Trial Act.
25

26
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

27   § 3161, et seq., within which trial must commence, the time period of June 11, 2015 to
28
     August 6, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),


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               Case 2:12-cr-00169-TLN Document 456 Filed 06/09/15 Page 3 of 3


 1   B(iv) [Local Code T4] because it results from a continuance granted by the Court at
 2
     defendant’s request on the basis of the Court's finding that the ends of justice served by
 3
     taking such action outweigh the best interest of the public and the defendant in a speedy
 4

 5   trial.
 6
              4.   Nothing in this stipulation and order shall preclude a finding that other
 7
     provisions of the Speedy Trial Act dictate that additional time periods are excludable
 8

 9   from the period within which a trial must commence.

10   IT IS SO STIPULATED.
11

12   Dated: June 8, 2015                              Respectfully submitted,
13
                                                      /s/ Kelly Babineau
14                                                    KELLY BABINEAU
                                                      Attorney for Eric Robinson
15

16
     Dated: June 8, 2015                              /s/ Jason Hitt
17                                                    Kelly Babineau for:
18
                                                      JASON HITT
                                                      Assistant U.S. Attorney
19

20                                          ORDER
21            IT IS SO ORDERED.
22   Dated: June 8, 2015
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